Case 2:09-md-02047-EEF-MBN Document 428-9 Filed 11/10/09 Page 1 of 2

IN THE UNITED STATE DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

TIMOTHY PERRY AND * MDL DOCKET NO. 2047
TRACEY PERREY *
*
PLAINTIFFS *
* Judge Eldon E. Fallon
*
V. * Magistrate Judge Joseph C. Wilkerson, Jr.
KNAUF GIPS KG; *
KNAUF PLASTERBOARD * Section L
TIANJIN COMPANY, LTD *
SUN CONSTRUCTION, LLC *
SUNRISE CONSTRUCTION, LLC *
FICTITIOUS DEFENDANTS A-Z *
DEFENDANTS *
Case No. 2:09cv5500 L/2
NOTICE OF HEARING

PLEASE TAKE NOTICE that Defendant, Sun Construction, LLC, will bring for hearing
its Motion for Summary Judgment Pursuant to FRCP Rule 56 on November 18th, at 9:00 a.m.
before Honorable Judge Eldon E. Fallon, in the United States District Court for the Eastern

District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130.
Case 2:09-md-02047-EEF-MBN Document 428-9 Filed 11/10/09 Page 2 of 2

Respectfully submitted,

COUHIG PARTNERS, L.L.C.

DAVID C. LOEB (LA Bar No. 8660)
LISA L. MAHER (LA Bar No. 21326)
643 MAGAZINE STREET, SUITE 300
NEW ORLEANS, LA 70130
Telephone 504-588-1288

Facsimile 504-588-9750
dloeb@couhigpartners.com
maherl(@couhigpartners.com

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Notice of Hearing has been served on Plaintiffs’

Liaison Counsel, Russ Hermann at Drywall@hhke.com, and Defendants’ Liaison Counsel, Kerry

Miller at Kmiller@frilot.com, and Homebuilder Sterring Committees’ Counsel Hilarie Bass and

Phillip A. Wittmann at pwittman@stonepigman.com and upon all parties by electronically

uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 6, and that
the foregoing was electronically filed with the Clerk of Court of the United States District for the
Eastern District of Louisiana by using the CM/ECF System, which will send a notice of

electronic filing in accordance with the procedures established in MDL 2047, on the 10th day of

DAVID C. LOEB

November, 2009.

